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________________                                                                                ________________
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                                                                     February 28, 2023


           VIA ECF
           The Honorable Lois H Goodman, U.S.M.J.
           U.S. District Court for the District of New Jersey
           Clarkson S. Fisher Building
           & U.S. Courthouse
           402 East State Street
           Trenton, New Jersey 08608

                         Re:     Association of New Jersey Rifle & Pistol Clubs, Inc. (“ANJRPC”) v. Platkin,
                                 et al. - 3:18-cv-10507-PGS-LHG
                                 Ellman v. Platkin - 3:22-cv-04397-PGS-LHG
                                 Cheeseman v. Platkin - 1:22-cv-04360-PGS-LHG

           Dear Judge Goodman:

                  We represent the ANJRPC and Ellman Plaintiffs in the above referenced consolidated
           matters.

                   There is currently scheduled before Your Honor on March 2, 2023, a telephonic
           scheduling conference. We write to request a two week adjournment of the conference. Both
           ANJRPC and Ellman Plaintiffs will shortly be filing motions for summary judgment or in the
           alterative for a preliminary injunction, and we believe that the motions may materially impact the
           substance of the conference.
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       All counsel have consented to this request, except Ms. Fennelly and Ms. Galella both of
 whom I understand are away.

        Thank you.




                                                   Respectfully submitted,


                                                   __s/ Daniel L. Schmutter__
                                                   DANIEL L. SCHMUTTER
 DLS/ars
 cc:   Daniel M. Vannella Esq.
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